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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

US Foods, Inc.
                                     Plaintiff,
v.                                                     Case No.: 1:21−cv−06915
                                                       Honorable Ronald A. Guzman
SRG South Hills, LLC, et al.
                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 12, 2022:


        MINUTE entry before the Honorable Ronald A. Guzman: Attorneys Alexander L
Holmquist, Robert O Lampl and James R. Cooney's motion to appear pro hac vice on
behalf of all defendants [13], [14], [15] is granted. Mailed notice. (kp, )




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